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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

ALEXANDER CORREDOR, Individually                  Case No.
and on Behalf of All Others Similarly Situated,
                                                  CLASS ACTION COMPLAINT FOR
                      Plaintiff,                  VIOLATIONS OF THE FEDERAL
                                                  SECURITIES LAWS
       v.
                                                  DEMAND FOR JURY TRIAL
ASP ISOTOPES INC., PAUL E. MANN, and
HEATHER KIESSLING,

                      Defendants.
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       Plaintiff Alexander Corredor (“Plaintiff”), individually and on behalf of all others similarly

situated, by and through his attorneys, alleges the following upon information and belief, except

as to those allegations concerning Plaintiff, which are alleged upon personal knowledge. Plaintiff’s

information and belief is based upon, among other things, his counsel’s investigation, which

includes without limitation: (a) review and analysis of regulatory filings made by ASP Isotopes

Inc. (“ASP Isotopes” or the “Company”) with the United States (“U.S.”) Securities and Exchange

Commission (“SEC”); (b) review and analysis of press releases and media reports issued by and

disseminated by ASP Isotopes; and (c) review of other publicly available information concerning

ASP Isotopes.

                        NATURE OF THE ACTION AND OVERVIEW

       1.       This is a class action on behalf of persons and entities that purchased or otherwise

acquired ASP Isotopes securities between October 30, 2024 and November 26, 2024, inclusive

(the “Class Period”). Plaintiff pursues claims against the Defendants under the Securities Exchange

Act of 1934 (the “Exchange Act”).

       2.       ASP Isotopes is a development stage advanced materials company focused on the

production, enrichment, and sale of isotopes. The Company purports to have multiple isotope

enrichment plants currently under development in South Africa. The Company is engaged in the

development of “quantum enrichment technology” which allegedly uses lasers to produce enriched

isotopes, including Uranium-235. The Company purports to be in development of high-assay low-

enriched uranium (“HALEU”) reactors to be fueled by Uranium-235 produced using its quantum

enrichment technology. The Company touts that it its HALEU facilities could be deployed “for

considerably lower capital costs, and in much less time, compared to the construction of an

enrichment facility using a traditional centrifuge process.” The Company has two operating




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segments: (i) nuclear fuels, and (ii) specialist isotopes and related services. The Company’s nuclear

fuels operating segment is primarily operated through its Quantum Leap Energy subsidiary.

       3.      On October 30, 2024, the Company announced it had entered into a term sheet with

TerraPower, LLC “related to the construction of a uranium enrichment facility capable of

producing High Assay Low-Enriched Uranium (HALEU) and the future supply of HALEU to

TerraPower.”

       4.      On November 26, 2024, at approximately 10:00 a.m. Eastern Standard Time,

market research firm Fuzzy Panda Research published a report which alleged that the Company is

“using old, disregarded laser enrichment technology to masquerade as a new, cutting-edge

Uranium enrichment.” The report quoted a former employee of Klydon (the company ASP

Isotopes purchased its “proprietary” technology from) as stating scientists “did not think it would

work on Uranium.” 1 The report revealed a series of experts interviewed stated the Company’s

reported cost estimates and timeline for building its HALEU uranium facilities was misleading to

the point of being “delusional.” The report further alleged the Company had significantly

overstated the significance of its agreement with TerraPower, which was only a “non-binding”

memorandum of understanding entered into to “put pressure on [TerraPower’s] real suppliers.”

The report quoted a former TerraPower executives as stating that ASP Isotopes was “missing the

manufacturing; They are missing the processes as well; They still have to develop the

HALEU…the most important part.” Finally, the report revealed that the Company’s subsidiary,

Quantum Leap Energy, which operates its nuclear fuels segment and to which the Company

assigned the TerraPower memoranda of understanding, was completely absent from its registered



1
  Unless otherwise stated, all emphasis in bold and italics hereinafter is added, and all footnotes
are omitted.


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South African address. The report revealed there were “zero signs” of their presence and “security

guards and neighboring business about them all told us they had never heard of the companies.”

       5.      On this news, the Company’s stock price fell $1.80 or 23.53%, to close at $5.85 per

share on November 26, 2024, on unusually heavy trading volume. The stock continued to fall on

the subsequent trading date, falling $0.83 or 14.19%, to close at $5.02 per share on November 27,

2024, on unusually heavy trading volume.

       6.      Throughout the Class Period, Defendants made materially false and/or misleading

statements, as well as failed to disclose material adverse facts about the Company’s business,

operations, and prospects. Specifically, Defendants failed to disclose to investors: (1) the Company

overstated the potential effectiveness of its enrichment technology; (2) the Company overstated

the development potential of its high assay low-enriched uranium facility; (3) the Company

overstated the Company’s nuclear fuels operating segment results; and (4) that, as a result of the

foregoing, Defendants’ positive statements about the Company’s business, operations, and

prospects were materially misleading and/or lacked a reasonable basis.

       7.      As a result of Defendants’ wrongful acts and omissions, and the precipitous decline

in the market value of the Company’s securities, Plaintiff and other Class members have suffered

significant losses and damages.

                                  JURISDICTION AND VENUE

       8.      The claims asserted herein arise under Sections 10(b) and 20(a) of the Exchange

Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated thereunder by the SEC (17

C.F.R. § 240.10b-5).

       9.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1331 and Section 27 of the Exchange Act (15 U.S.C. § 78aa).




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        10.     Venue is proper in this Judicial District pursuant to 28 U.S.C. § 1391(b) and Section

27 of the Exchange Act (15 U.S.C. § 78aa(c)). Substantial acts in furtherance of the alleged fraud

or the effects of the fraud have occurred in this Judicial District. Many of the acts charged herein,

including the dissemination of materially false and/or misleading information, occurred in

substantial part in this Judicial District.

        11.     In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

                                              PARTIES

        12.     Plaintiff Alexander Corredor, as set forth in the accompanying certification,

incorporated by reference herein, purchased ASP Isotopes securities during the Class Period, and

suffered damages as a result of the federal securities law violations and false and/or misleading

statements and/or material omissions alleged herein.

        13.     Defendant ASP Isotopes is incorporated under the laws of Delaware with its

principal executive offices located in Washington, DC. ASP Isotopes’ common stock trades on the

NASDAQ exchange under the symbol “ASPI.”

        14.     Defendant Paul E. Mann (“Mann”) was the Company’s Founder and Chief

Executive Officer (“CEO”) at all relevant times.

        15.     Defendant Heather Kiessling (“Kiessling”) was the Company’s Chief Financial

Officer (“CFO”) at all relevant times.

        16.     Defendants Mann and Kiessling (together, the “Individual Defendants”), because

of their positions with the Company, possessed the power and authority to control the contents of

the Company’s reports to the SEC, press releases and presentations to securities analysts, money


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and portfolio managers and institutional investors, i.e., the market. The Individual Defendants

were provided with copies of the Company’s reports and press releases alleged herein to be

misleading prior to, or shortly after, their issuance and had the ability and opportunity to prevent

their issuance or cause them to be corrected. Because of their positions and access to material non-

public information available to them, the Individual Defendants knew that the adverse facts

specified herein had not been disclosed to, and were being concealed from, the public, and that the

positive representations which were being made were then materially false and/or misleading. The

Individual Defendants are liable for the false statements pleaded herein.

                               SUBSTANTIVE ALLEGATIONS

                                           Background

       17.     ASP Isotopes is a development stage advanced materials company focused on the

production, enrichment, and sale of isotopes. The Company purports to have multiple isotope

enrichment plants currently under development in South Africa. The Company is engaged in the

development of “quantum enrichment technology” which allegedly uses lasers to produce enriched

isotopes, including Uranium-235. The Company purports to be in development of high-assay low-

enriched uranium (“HALEU”) reactors to be fueled by Uranium-235 produced using its quantum

enrichment technology. The Company touts that it its HALEU facilities could be deployed “for

considerably lower capital costs, and in much less time, compared to the construction of an

enrichment facility using a traditional centrifuge process.” The Company has two operating

segments: (i) nuclear fuels, and (ii) specialist isotopes and related services. The Company’s nuclear

fuels operating segment is primarily operated through its Quantum Leap Energy subsidiary.




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                                    Materially False and Misleading

                            Statements Issued During the Class Period

        18.     The Class Period begins on October 30, 2024. On that day, the Company issued a

press release which announced it had entered into a term sheet with TerraPower, LLC “related to

the construction of a uranium enrichment facility capable of producing High Assay Low-Enriched

Uranium (HALEU) and the future supply of HALEU to TerraPower.” Specifically, the press

release stated, in relevant part:

        ASP Isotopes Inc. enters into Term Sheet with TerraPower, LLC for
        Construction of a HALEU Production Facility

        - Term sheet contemplates preparation of definitive documentation pursuant to
        which TerraPower would provide funding for the construction of a uranium
        enrichment facility and would purchase HALEU after the expected completion
        of the facility.

        WASHINGTON, Oct. 30, 2024 (GLOBE NEWSWIRE) -- ASP Isotopes Inc.
        NASDAQ: ASPI ("ASP Isotopes” or the “Company”), an advanced materials
        company dedicated to the development of technology and processes for the
        production of isotopes for use in multiple industries, today announced that it has
        entered into a term sheet with TerraPower, a nuclear innovation company and
        advanced nuclear energy developer, related to the construction of a uranium
        enrichment facility capable of producing High Assay Low-Enriched Uranium
        (HALEU) and the future supply of HALEU to TerraPower, as a customer of
        Quantum Leap Energy LLC (QLE).

        The term sheet contemplates the preparation of definitive agreements pursuant to
        which TerraPower would provide funding for the construction of a HALEU
        production facility. In addition, the parties anticipate entering into a long-term
        supply agreement for the HALEU expected to be produced at this facility
        pursuant to which the customer would purchase all the HALEU produced at the
        facility over a 10-year period after the expected completion of the facility. It is
        anticipated that the definitive agreements will be assigned to ASP Isotopes’ wholly
        owned subsidiary, Quantum Leap Energy LLC (QLE).

                                    *             *             *

        The Company believes that its enrichment technologies can be deployed in a new
        HALEU facility for considerably lower capital costs, and in much less time,
        compared to the construction of an enrichment facility using a traditional
        centrifuge process of HALEU production. The Company has already constructed



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       or is in the process of constructing three isotope enrichment facilities in South
       Africa. The first facility is expected to enrich Carbon-14 for use in healthcare and
       agrochemicals. The second facility is expected to enrich Silicon-28, which the
       Company believes will enable faster, more efficient semiconductors for use in
       artificial intelligence and quantum computing. The third facility is expected to
       enrich Ytterbium-176, a critically important raw material used in the production of
       oncology therapies.

       “Over the last several decades, the scientists at ASP Isotopes have developed some
       of the world's most advanced isotope enrichment technologies. This term sheet is
       further validation of our belief that ASP Isotopes can offer scalable and capital
       efficient technology solutions to the supply challenges which exist in global
       isotope markets” said Paul Mann, Chairman and CEO of ASP Isotopes, and
       Chairman and CEO of QLE.

       19.     On November 4, 2024, the Company submited a prospectus supplement on a Form

424B5 filed with the SEC (the “Prospectus Supplement”). The Prospectus Supplement touted the

Company’s belief in the ability of its technology to manage uranium enrichment and HALEU

reactor development. Specifically, the Prospectus Supplement stated, in relevant part:

       Our proprietary technology, the Aerodynamic Separation Process (“ASP
       technology”), originally developed by Klydon Proprietary Ltd (“Klydon”), is
       designed to enable the production of isotopes used in several industries.

                                 *              *              *

       We are also developing quantum enrichment technology to produce enriched
       Ytterbium-176 (“Yb-176”), Nickel-64, Lithium 6, Lithium7 and Uranium-235
       (“U-235”). Quantum enrichment is an advanced isotope enrichment technique that
       is currently in development that uses lasers. We believe that the U-235 we may
       produce using quantum enrichment technology may be commercialized as a
       nuclear fuel component for use in the new generation of high-assay low-enriched
       uranium (HALEU)-fueled small modular reactors that are now under
       development for commercial and government uses.

                                 *              *              *

       The aerodynamic separation technique has its origins in the South African uranium
       enrichment program in the 1980s, and the ASP technology has been developed
       during the last 18 years by the scientists at Klydon.

       20.     The Prospectus Supplement further touted the Company’s agreement with

TerraGroup and the strong interest in commercialization of its technology leading the Company to



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separate out its operating segments and contemplate a potential spin out of Quantum Leap Energy,

the subsidiary of the Company vested with the TerraGroup agreement. Specifically, the Prospectus

Supplement stated, in relevant part:

       We operate principally through our subsidiaries. ASP Isotopes Guernsey Limited
       (the holding company for subsidiaries in the Cayman Islands, South Africa, Iceland
       and the United Kingdom) is focused on the development and commercialization of
       high-value, low-volume isotopes for highly specialized end markets (such as C-14,
       Mo-100, and Si-28). ASP Isotopes UK Ltd is the owner of our technology.

       In September 2023, we formed Quantum Leap Energy LLC, or “QLE,” which also
       has subsidiaries in the United Kingdom (Quantum Leap Energy Limited) and South
       Africa (Quantum Leap Energy (Pty) Limited), to focus on the development and
       commercialization of advanced nuclear fuels such as HALEU and Lithium-6.

                                 *              *              *

       Beginning in 2024, primarily as a result of the increased business activities of
       QLE, we have two operating segments: (i) nuclear fuels, and (ii) specialist
       isotopes and related services.

       Although no assurance can be given, we plan to spin-out QLE, as a separate
       public company and list the shares of QLE on a U.S. national exchange and
       distribute a portion of QLE’s common equity to ASPI’s stockholders as of a to-be-
       determined future record date, in each case subject to obtaining applicable
       approvals and consents and complying with applicable rules and regulations and
       public market trading and listing requirements.

                                 *              *              *

       In connection with the anticipated spin-out, in February 2024, we entered into a
       number of agreements with QLE, including a License Agreement, pursuant to
       which QLE has licensed from us the rights to technologies and methods used to
       separate Uranium 235 and Lithium 6 (including but not limited to the quantum
       enrichment and ASP technologies) in exchange for a perpetual royalty in the
       amount of 10% of all future QLE revenues, and an EPC Services Framework
       Agreement, pursuant to which we will provide services for the engineering,
       procurement and construction of one or more turnkey Uranium-235 and Lithium-6
       enrichment facilities in locations to be identified by QLE and owned or leased by
       QLE, and commissioning, start-up and test services for each such facility, subject
       to the receipt of all applicable regulatory approvals, permits, licenses,
       authorizations, registrations, certificates, consents, orders, variances and similar
       rights. In addition, in February 2024, we assigned to QLE certain existing
       memoranda of understanding with U.S.-based small modular reactor companies
       for the use of Quantum Enrichment for the production of High-Assay Low


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        Enriched Uranium (HALEU). The MOUs provide for substantial financial
        support for the development of HALEU production facilities that should be
        capable of supplying metric ton quantities of HALEU by 2027.

                                   *            *              *

        Recent Developments

        In October 2024, we entered into a term sheet with TerraPower, LLC related to
        the construction of a uranium enrichment facility capable of producing HALEU
        and the future supply of HALEU to TerraPower. The term sheet contemplates the
        parties entering into a definitive agreement, pursuant to which TerraPower would
        provide funding for the construction of a HALEU production facility. In addition,
        the parties anticipate entering into a long-term supply agreement for HALEU
        expected to be produced at this facility, pursuant to which the customer would
        purchase all HALEU produced at the facility over a 10-year period after the
        expected completion of the facility in 2027. It is anticipated that the definitive
        agreements will be assigned to QLE.

        21.     On November 14, 2024, the Company issued a press release announcing that it

entered into a Memorandum of Understanding with the South African Nuclear Energy Corporation

to collaborate on the research and development of advanced nuclear fuel production. Specifically,

the press release stated, in relevant part:

        MOU contemplates collaboration on the research, development and ultimately
        the commercial production of advanced nuclear fuels, such as High Assay Low
        Enriched Uranium (HALEU) for Small Modular Reactors.

                                   *            *              *

        Washington, D.C., November 14, 2024 (GLOBE NEWSWIRE) -- ASP Isotopes
        Inc. NASDAQ: ASPI (“ASP Isotopes” or the “Company”), an advanced materials
        company dedicated to the development of technology and processes for the
        production of isotopes for use in multiple industries, today announced that it has
        entered into a Memorandum of Understanding (MOU) with The South African
        Nuclear Energy Corporation (Necsa) to collaborate on the research, development
        and ultimately the commercial production of advanced nuclear fuels.

                                   *            *              *

        It is anticipated that the research, development and ultimate construction of a
        HALEU production facility will take place at Pelindaba, which is situated
        approximately 22 miles west of Pretoria, South Africa. Pelindaba is South
        Africa’s main nuclear research center and is the home of the 20MW research



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       nuclear reactor, SAFARI-1, which over the last several years has become one of the
       world’s largest suppliers of Molybdenum-99 and other radioisotopes.

                                *               *               *

       ASPI recently entered into a Term Sheet with TerraPower LLC which
       contemplates TerraPower providing funding for the construction of a HALEU
       Facility and TerraPower purchasing HALEU produced at the facility.

       22.    On November 19, 2024, the Company submitted its quarterly report for the period

ended September 30, 2024 on a Form 10-Q filed with the SEC (the “2Q24 10-K”). The 2Q24 10-

K reported the Company’s revenue and segment results, stating in relevant part:

       Beginning in 2024, primarily as a result of increased business activities of its
       subsidiary, Quantum Leap Energy LLC, the Company has two operating segments:
       (i) nuclear fuels, and (ii) specialist isotopes and related services.

                                    *                *              *




       23.    The 2Q24 10-K further reported the Company’s purported progress on High-Assay

Low-Enriched Uranium (HALEU) Production. Specifically, the 2Q24 10-K stated in relevant part:

       High-Assay Low-Enriched Uranium (HALEU) Production

       In October 2024, we entered into a term sheet with TerraPower, LLC related to the
       construction of a uranium enrichment facility capable of producing HALEU and
       the future supply of HALEU to TerraPower. The term sheet contemplates the
       parties entering into a definitive agreement, pursuant to which TerraPower would
       provide funding for the construction of a HALEU production facility. In addition,
       the parties anticipate entering into a long-term supply agreement for HALEU
       expected to be produced at this facility, pursuant to which the customer would
       purchase all HALEU produced at the facility over a 10-year period after the
       expected completion of the facility in 2027. It is anticipated that the definitive
       agreements will be assigned to QLE.

                                *              *                *




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       In November 2024, we entered into a memorandum of understanding (“MOU”)
       with The South African Nuclear Energy Corporation (Necsa) to collaborate on the
       research, development and ultimately the commercial production of advanced
       nuclear fuels. Necsa is a state-owned company established by the Republic of South
       Africa Nuclear Energy Act in 1999 with a mandate to undertake and promote
       research and development in the field of nuclear energy and radiation sciences.
       Necsa is also responsible for processing source material, and co-operating with
       other institutions on nuclear and related matters. The proposed structure under
       discussion for the delivery of the objectives of the MOU contemplates the
       formation of a new entity in South Africa with a board of directors consisting of at
       least two representatives from the Company and Necsa. Discussions between the
       parties during the last three years have focused on advancing new nuclear fuel
       to cater especially for small modular reactors as a start and eventually the
       construction of a nuclear fuel facility for the production of HALEU. It is
       anticipated that the research, development and ultimate construction of a
       HALEU production facility will take place at Pelindaba in Pretoria, South Africa.
       Pelindaba is South Africa’s main nuclear research center and is the home of the
       20MW research nuclear reactor, SAFARI-1, which over the last several years has
       become one of the world’s largest suppliers of Molybdenum-99 and other
       radioisotopes.

       24.     The above statements identified in ¶¶ 18-23 were materially false and/or

misleading, and failed to disclose material adverse facts about the Company’s business, operations,

and prospects. Specifically, Defendants failed to disclose to investors: (1) the Company overstated

the potential effectiveness of its enrichment technology; (2) the Company overstated the

development potential of its high assay low-enriched uranium facility; (3) the Company overstated

the Company’s nuclear fuels operating segment results; and (4) that, as a result of the foregoing,

Defendants’ positive statements about the Company’s business, operations, and prospects were

materially misleading and/or lacked a reasonable basis.

                          Disclosures at the End of the Class Period

       25.     On November 26, 2024, at approximately 10:00 a.m. Eastern Standard Time,

market research firm Fuzzy Panda Research published a report entitled “ASP Isotopes (ASPI):

Failed Tech + Paid Stock Promotion + “Microcap Fraudsters” (Honig & Stetson) = Nuclear

Meltdown.” (the “Fuzzy Panda Report”). The Fuzzy Panda Report alleged that the Company is



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“using old, disregarded laser enrichment technology to masquerade as a new, cutting-edge

Uranium enrichment.” The Fuzzy Panda Report quoted a former employee of Klydon (the

company ASP Isotopes purchased its ‘proprietary’ technology from) as stating scientists “did not

think it would work on Uranium.” The Fuzzy Panda Report revealed a series of experts

interviewed stated the Company’s reported cost estimates and timeline for building its HALEU

uranium facilities was misleading to the point of being “delusional.” The Fuzzy Panda Report

further alleged the Company had significantly overstated the significance of its agreement with

TerraPower, which was only a “non-binding” memorandum of understanding entered into to “put

pressure on [TerraPower’s] real suppliers.” The Fuzzy Panda Report quoted a former TerraPower

executives as stating that ASP Isotopes was “missing the manufacturing; They are missing the

processes as well; They still have to develop the HALEU…the most important part.” Finally, the

Fuzzy Panda Report revealed that the Company’s subsidiary, Quantum Leap Energy, which

operates its nuclear fuels segment and to which the Company assigned the TerraPower memoranda

of understanding, was completely absent from its registered South African address. The Fuzzy

Panda Report revealed there were “zero signs” of their presence and “security guards and

neighboring business about them all told us they had never heard of the companies.” Specifically,

the Fuzzy Panda Report stated the following, in relevant part:

       ASP Isotopes (ASPI): Failed Tech + Paid Stock Promotion + “Microcap
       Fraudsters” (Honig & Stetson) = Nuclear Meltdown

       ASP Isotopes (ASPI) is using old, disregarded laser enrichment technology to
       masquerade as a new, cutting-edge Uranium enrichment company. The truth is
       hiding just below the surface. Unbeknownst to investors, we discovered a crew tied
       to the most notorious “Microcap Fraudsters” (Honig & Stetson) behind the scenes.
       Nuclear energy and Uranium stocks are hot right now, so naturally Honig’s family
       and friends are tied to a paid stock promotion in Uranium. ASPI is that company.

       We spoke with former executives from customers and competitors, and they told us
       ASPI is using old, mothballed technology that has been shown to be uneconomic.



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                         *              *               *

South African Subsidiaries: Many List Same Address. We Visited. They Were
Not Actually There

We hired a local South African Investigator to pull ASPI’s South African
subsidiaries filings (only someone with a South African ID number can do this).
We then had our investigator visit the listed addresses. Shockingly, almost all the
subsidiaries had the exact same address.

We visited the primary location — 1 Melrose Blvd- Unit 19, Johannesburg,
South Africa — hoping to get answers. But we found that the ASP Isotopes’s
SA subsidiaries were NOT actually there.

There was ZERO sign of any of the companies at their listed address ASP
Isotopes South Africa, Quantum Leap Energy, Enlightened Isotopes, or ASPI
South Africa Asset Finance.

When we asked security guards and neighboring business about them all told
us they had never heard of the companies. The one thing we did find at that
location was a South African retail investing fund, called Jaltech, that appears
sketchy and shares the same address as ASPI’s key subsidiaries as well as some
Board Members who are hiding on the subsidiary filings.




South African Registration Documents Clearly Show the current address as 1
Melrose Blvd- Unit 19, Johannesburg, South Africa.




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For Example – Quantum Leap Energy’s South Africa Current CIPC Statement show
the registered and current postal address as 1 Melrose Blvd- Unit 19, Johannesburg,
South Africa.




All ASPI Subsidiaries Were Are Missing from the Building Directory at 1 Melrose
Blvd – Unit 19; Johannesburg, South Africa

Quantum Leap Energy, Enlightened Isotopes, ASPI SA Asset Finance, or ASP
Isotopes SA HQ were nowhere to be found.




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                          *               *               *

TerraPower Executives Ranked ASPI at the Bottom in Terms of Quality

   •   TerraPower Executives Said the MOU is “Non Binding” & “Required Zero
       Capital Commitment”

   •   TerraPower Executives Were “Most Skeptical” of ASPI’s Ability to Deliver

ASPI’s Stock shot up ~150% over the last month. The major reason for this
share spike was … a press release.

TerraPower had publicly announced that they signed a term sheet with ASP
Isotopes. To understand if this was just a press release or if this was going to be the
rare Honig-Stetson company that had a technological advantage, we spoke to
former TerraPower executives in charge of procurement and nuclear
executives at competitors. They told us it was just a press release, a public
announcement. The TerraPower-ASP Isotopes agreement is likely “Non-Binding”
and required “Zero Capital Investment,” they said.

The former executives told us privately that the true purpose was to show the
DOE that they had a recovery plan and to put pressure on their real suppliers.
The executive said if TerraPower was actually confident in ASPI’s ability to
deliver, they would’ve issued a purchase order rather than a MOU.


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                         *               *              *

ASPI was Ranked at the Bottom in Terms of Quality

“ Q) Who would you rank at the bottom?

       Probably ASP Isotopes … [ASPI] still have to build the manufacturing
       facility. [ASPI] still have to qualify the process. ASPI is missing the
       manufacturing; They are missing the processes as well; They still have to
       develop the HALEU…the most important part”

       ~TerraPower Former Executive in Procurement

Nuclear Executives Also Thought ASPI’s Timeline was Unrealistic

How would you characterize the projected timeline and forecasts?

       “It’s too optimistic. And not real… That’s my view on it. And again, I
       have been around. I’ve worked on real projects, and I’ve seen how things
       work.”

       ~ TerraPower Former Executive

                         *              *              *

Cameco – Another Nuclear Co Was Skeptical of ASPI Tech; Their Scientists
Didn’t Think It Would Work on Uranium

We spoke with a former employee of Klydon (the company ASPI bought the tech
from) and they told us that Klydon had also tried and failed at selling the tech to
Cameco. The former Klydon employee told us Cameco’s scientists were “very
skeptical of the technology” and Cameco “did NOT think it would work on
uranium.”

                         *               *              *

ASPI Tech is Failed 1990s Tech That USA Gave Away For Free. Even IRAN
and IRAQ Rejected It!

   •   “Tech” is a Recycled Failed US Gov’t Project from 1990s

   •   Japan and, yes, Iraq and Iran, Tried Developing Same Tech. All Concluded
       it was Commercially Useless.

   •   Lacks NRC License to Enrich Uranium & Didn’t Even Bid for Large DOE
       Award




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ASPI used to admit that they have tied investor’s hopes and dreams to a process
that is actually a failed DOE project from the late 1990s called AVLIS. AVLIS
stands for (Atomic Vapor Laser Isotope Separation), which basically is enriching
isotopes (like uranium) with lasers. This is the key technology ASPI is hyping.
Unfortunately for ASPI, lots of governments have already tried AVLIS and
determined it does NOT work commercially.

                          *              *               *

In fact, twenty nations have researched laser isotope separation – Pretty much
all of them abandoned it!

“In total, more than 20 other nations have researched laser isotope separation
techniques. A report by Boureston and Ferguson [2005] includes Argentina,
Australia, Brazil, Britain, China, France, Germany, India, Iran, Iraq, Israel, Italy,
Japan, the Netherlands, Pakistan, Romania, Russia, South Africa, South Korea,
Spain, Sweden, Switzerland, the United States and Yugoslavia.” (source)

Pretty much all of them decided that it was “NOT commercially viable” and
“Unprofitable.”

We are not saying the technology is fake … it works, but evidently only at a small
lab scale. The reality is that most nuclear companies and governments have studied
AVLIS and many have wasted billions of dollars realizing that AVLIS (which
ASPI’s hopes and dreams are pinned on) is inferior and unprofitable.

A 2012 Berkeley study stated: “It is unclear whether AVLIS for uranium enrichment
is even feasible.”

                          *              *               *

High-Cost Reality – Experts Laughed at ASPI’s Cost Projections & Estimated
They Will Be At Least 10x Higher

   •   TerraPower Executives – Hundreds of Millions

   •   Centrus Executive – At Least a Billion

Management is telling investors it will only cost $10 million. The experts we
spoke with told us it would cost way more than that, and that’s just to get it to
the pilot phase.

TerraPower Former Executive – It will Cost ASPI “Way More” … “Hundreds
of Millions”

“Q) ASP has said that building out the facility for HALEU costs about $10 million.
Is that accurate?



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               (Hahaha) “It’s not. It’s going to be way more than $10
               million…hundreds of millions sounds about right…[Their estimates are]
               too optimistic. And not real…That’s my view on it. And again, I have been
               around. I’ve worked on real projects and I’ve seen how things work.

               ~Former Terrapower Executive

       26.     On this news, the Company’s stock price fell $1.80 or 23.53%, to close at $5.85 per

share on November 26, 2024, on unusually heavy trading volume. The stock continued to fall on

the subsequent trading date, falling $0.83 or 14.19%, to close at $5.02 per share on November 27,

2024, on unusually heavy trading volume.

       27.     On November 26, 2024, after the market closed, the Company issued a press release

denying the allegations of the Fuzzy Panda Report based on a “preliminary review and evaluation

of the report.” Specifically, the Company stated, in relevant part:

       Based upon ASP Isotopes’s and its legal counsel’s preliminary review and
       evaluation of the report, the Company believes the report includes speculative
       conjecture and claims that are inaccurate or filled with innuendo in an attempt to
       mislead investors about ASP Isotopes’s technology, leadership and future growth.
       Investors are encouraged to review the Company’s public filings made with the
       SEC.

       ASP Isotopes is in the process of commissioning three isotope enrichment facilities
       in South Africa and has hosted commercial partners and investors at these facilities.
       The first facility is scheduled to enrich Carbon-14 for use in healthcare and
       agrochemicals. The second facility is scheduled to enrich Silicon-28, which the
       Company believes will enable faster, more efficient semiconductors for use in
       artificial intelligence and quantum computing. The third facility is scheduled to
       enrich Ytterbium-176, a critically important raw material used in the production of
       radio-oncology therapies.

                               CLASS ACTION ALLEGATIONS

       28.     Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

Procedure 23(a) and (b)(3) on behalf of a class, consisting of all persons and entities that purchased

or otherwise acquired ASP Isotopes securities between October 30, 2024 and November 26, 2024,

inclusive, and who were damaged thereby (the “Class”). Excluded from the Class are Defendants,



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the officers and directors of the Company, at all relevant times, members of their immediate

families and their legal representatives, heirs, successors, or assigns, and any entity in which

Defendants have or had a controlling interest.

       29.        The members of the Class are so numerous that joinder of all members is

impracticable.      Throughout the Class Period, ASP Isotopes’ shares actively traded on the

NASDAQ. While the exact number of Class members is unknown to Plaintiff at this time and can

only be ascertained through appropriate discovery, Plaintiff believes that there are at least hundreds

or thousands of members in the proposed Class. Millions of ASP Isotopes shares were traded

publicly during the Class Period on the NASDAQ. Record owners and other members of the Class

may be identified from records maintained by ASP Isotopes or its transfer agent and may be

notified of the pendency of this action by mail, using the form of notice similar to that customarily

used in securities class actions.

       30.        Plaintiff’s claims are typical of the claims of the members of the Class as all

members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

federal law that is complained of herein.

       31.        Plaintiff will fairly and adequately protect the interests of the members of the Class

and has retained counsel competent and experienced in class and securities litigation.

       32.        Common questions of law and fact exist as to all members of the Class and

predominate over any questions solely affecting individual members of the Class. Among the

questions of law and fact common to the Class are:

                  (a)    whether the federal securities laws were violated by Defendants’ acts as

alleged herein;




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               (b)     whether statements made by Defendants to the investing public during the

Class Period omitted and/or misrepresented material facts about the business, operations, and

prospects of ASP Isotopes; and

               (c)     to what extent the members of the Class have sustained damages and the

proper measure of damages.

       33.     A class action is superior to all other available methods for the fair and efficient

adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

damages suffered by individual Class members may be relatively small, the expense and burden

of individual litigation makes it impossible for members of the Class to individually redress the

wrongs done to them. There will be no difficulty in the management of this action as a class action.

                              UNDISCLOSED ADVERSE FACTS

       34.     The market for ASP Isotopes’ securities was open, well-developed and efficient at

all relevant times. As a result of these materially false and/or misleading statements, and/or failures

to disclose, ASP Isotopes’ securities traded at artificially inflated prices during the Class Period.

Plaintiff and other members of the Class purchased or otherwise acquired ASP Isotopes’ securities

relying upon the integrity of the market price of the Company’s securities and market information

relating to ASP Isotopes, and have been damaged thereby.

       35.     During the Class Period, Defendants materially misled the investing public, thereby

inflating the price of ASP Isotopes’ securities, by publicly issuing false and/or misleading

statements and/or omitting to disclose material facts necessary to make Defendants’ statements, as

set forth herein, not false and/or misleading. The statements and omissions were materially false

and/or misleading because they failed to disclose material adverse information and/or

misrepresented the truth about ASP Isotopes’ business, operations, and prospects as alleged herein.




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       36.     At all relevant times, the material misrepresentations and omissions particularized

in this Complaint directly or proximately caused or were a substantial contributing cause of the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or misleading

statements about ASP Isotopes’ financial well-being and prospects. These material misstatements

and/or omissions had the cause and effect of creating in the market an unrealistically positive

assessment of the Company and its financial well-being and prospects, thus causing the Company’s

securities to be overvalued and artificially inflated at all relevant times. Defendants’ materially

false and/or misleading statements during the Class Period resulted in Plaintiff and other members

of the Class purchasing the Company’s securities at artificially inflated prices, thus causing the

damages complained of herein when the truth was revealed.

                                      LOSS CAUSATION

       37.     Defendants’ wrongful conduct, as alleged herein, directly and proximately caused

the economic loss suffered by Plaintiff and the Class.

       38.     During the Class Period, Plaintiff and the Class purchased ASP Isotopes’ securities

at artificially inflated prices and were damaged thereby. The price of the Company’s securities

significantly declined when the misrepresentations made to the market, and/or the information

alleged herein to have been concealed from the market, and/or the effects thereof, were revealed,

causing investors’ losses.

                                 SCIENTER ALLEGATIONS

       39.     As alleged herein, Defendants acted with scienter since Defendants knew that the

public documents and statements issued or disseminated in the name of the Company were

materially false and/or misleading; knew that such statements or documents would be issued or

disseminated to the investing public; and knowingly and substantially participated or acquiesced


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in the issuance or dissemination of such statements or documents as primary violations of the

federal securities laws. As set forth elsewhere herein in detail, the Individual Defendants, by virtue

of their receipt of information reflecting the true facts regarding ASP Isotopes, their control over,

and/or receipt and/or modification of ASP Isotopes’ allegedly materially misleading misstatements

and/or their associations with the Company which made them privy to confidential proprietary

information concerning ASP Isotopes, participated in the fraudulent scheme alleged herein.

                   APPLICABILITY OF PRESUMPTION OF RELIANCE

                          (FRAUD-ON-THE-MARKET DOCTRINE)

       40.     The market for ASP Isotopes’ securities was open, well-developed and efficient at

all relevant times. As a result of the materially false and/or misleading statements and/or failures

to disclose, ASP Isotopes’ securities traded at artificially inflated prices during the Class Period.

On November 8, 2024, the Company’s share price closed at a Class Period high of $8.77 per share.

Plaintiff and other members of the Class purchased or otherwise acquired the Company’s securities

relying upon the integrity of the market price of ASP Isotopes’ securities and market information

relating to ASP Isotopes, and have been damaged thereby.

       41.     During the Class Period, the artificial inflation of ASP Isotopes’ shares was caused

by the material misrepresentations and/or omissions particularized in this Complaint causing the

damages sustained by Plaintiff and other members of the Class. As described herein, during the

Class Period, Defendants made or caused to be made a series of materially false and/or misleading

statements about ASP Isotopes’ business, prospects, and operations. These material misstatements

and/or omissions created an unrealistically positive assessment of ASP Isotopes and its business,

operations, and prospects, thus causing the price of the Company’s securities to be artificially

inflated at all relevant times, and when disclosed, negatively affected the value of the Company

shares. Defendants’ materially false and/or misleading statements during the Class Period resulted


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in Plaintiff and other members of the Class purchasing the Company’s securities at such artificially

inflated prices, and each of them has been damaged as a result.

       42.     At all relevant times, the market for ASP Isotopes’ securities was an efficient market

for the following reasons, among others:

               (a)     ASP Isotopes shares met the requirements for listing, and was listed and

actively traded on the NASDAQ, a highly efficient and automated market;

               (b)     As a regulated issuer, ASP Isotopes filed periodic public reports with the

SEC and/or the NASDAQ;

               (c)     ASP Isotopes regularly communicated with public investors via established

market communication mechanisms, including through regular dissemination of press releases on

the national circuits of major newswire services and through other wide-ranging public disclosures,

such as communications with the financial press and other similar reporting services; and/or

               (d)     ASP Isotopes was followed by securities analysts employed by brokerage

firms who wrote reports about the Company, and these reports were distributed to the sales force

and certain customers of their respective brokerage firms. Each of these reports was publicly

available and entered the public marketplace.

       43.     As a result of the foregoing, the market for ASP Isotopes’ securities promptly

digested current information regarding ASP Isotopes from all publicly available sources and

reflected such information in ASP Isotopes’ share price. Under these circumstances, all purchasers

of ASP Isotopes’ securities during the Class Period suffered similar injury through their purchase

of ASP Isotopes’ securities at artificially inflated prices and a presumption of reliance applies.

       44.     A Class-wide presumption of reliance is also appropriate in this action under the

Supreme Court’s holding in Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972),




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because the Class’s claims are, in large part, grounded on Defendants’ material misstatements

and/or omissions. Because this action involves Defendants’ failure to disclose material adverse

information regarding the Company’s business operations and financial prospects—information

that Defendants were obligated to disclose—positive proof of reliance is not a prerequisite to

recovery. All that is necessary is that the facts withheld be material in the sense that a reasonable

investor might have considered them important in making investment decisions. Given the

importance of the Class Period material misstatements and omissions set forth above, that

requirement is satisfied here.

                                       NO SAFE HARBOR

       45.     The statutory safe harbor provided for forward-looking statements under certain

circumstances does not apply to any of the allegedly false statements pleaded in this Complaint.

The statements alleged to be false and misleading herein all relate to then-existing facts and

conditions. In addition, to the extent certain of the statements alleged to be false may be

characterized as forward looking, they were not identified as “forward-looking statements” when

made and there were no meaningful cautionary statements identifying important factors that could

cause actual results to differ materially from those in the purportedly forward-looking statements.

In the alternative, to the extent that the statutory safe harbor is determined to apply to any forward-

looking statements pleaded herein, Defendants are liable for those false forward-looking

statements because at the time each of those forward-looking statements was made, the speaker

had actual knowledge that the forward-looking statement was materially false or misleading,

and/or the forward-looking statement was authorized or approved by an executive officer of ASP

Isotopes who knew that the statement was false when made.




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                                          FIRST CLAIM

                      Violation of Section 10(b) of The Exchange Act and

                              Rule 10b-5 Promulgated Thereunder

                                      Against All Defendants

        46.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        47.     During the Class Period, Defendants carried out a plan, scheme and course of

conduct which was intended to and, throughout the Class Period, did: (i) deceive the investing

public, including Plaintiff and other Class members, as alleged herein; and (ii) cause Plaintiff and

other members of the Class to purchase ASP Isotopes’ securities at artificially inflated prices. In

furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each defendant,

took the actions set forth herein.

        48.     Defendants (i) employed devices, schemes, and artifices to defraud; (ii) made

untrue statements of material fact and/or omitted to state material facts necessary to make the

statements not misleading; and (iii) engaged in acts, practices, and a course of business which

operated as a fraud and deceit upon the purchasers of the Company’s securities in an effort to

maintain artificially high market prices for ASP Isotopes’ securities in violation of Section 10(b)

of the Exchange Act and Rule 10b-5. All Defendants are sued either as primary participants in the

wrongful and illegal conduct charged herein or as controlling persons as alleged below.

        49.     Defendants, individually and in concert, directly and indirectly, by the use, means

or instrumentalities of interstate commerce and/or of the mails, engaged and participated in a

continuous course of conduct to conceal adverse material information about ASP Isotopes’

financial well-being and prospects, as specified herein.




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       50.     Defendants employed devices, schemes and artifices to defraud, while in

possession of material adverse non-public information and engaged in acts, practices, and a course

of conduct as alleged herein in an effort to assure investors of ASP Isotopes’ value and performance

and continued substantial growth, which included the making of, or the participation in the making

of, untrue statements of material facts and/or omitting to state material facts necessary in order to

make the statements made about ASP Isotopes and its business operations and future prospects in

light of the circumstances under which they were made, not misleading, as set forth more

particularly herein, and engaged in transactions, practices and a course of business which operated

as a fraud and deceit upon the purchasers of the Company’s securities during the Class Period.

       51.     Each of the Individual Defendants’ primary liability and controlling person liability

arises from the following facts: (i) the Individual Defendants were high-level executives and/or

directors at the Company during the Class Period and members of the Company’s management

team or had control thereof; (ii) each of these defendants, by virtue of their responsibilities and

activities as a senior officer and/or director of the Company, was privy to and participated in the

creation, development and reporting of the Company’s internal budgets, plans, projections and/or

reports; (iii) each of these defendants enjoyed significant personal contact and familiarity with the

other defendants and was advised of, and had access to, other members of the Company’s

management team, internal reports and other data and information about the Company’s finances,

operations, and sales at all relevant times; and (iv) each of these defendants was aware of the

Company’s dissemination of information to the investing public which they knew and/or recklessly

disregarded was materially false and misleading.

       52.     Defendants had actual knowledge of the misrepresentations and/or omissions of

material facts set forth herein, or acted with reckless disregard for the truth in that they failed to




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ascertain and to disclose such facts, even though such facts were available to them. Such

defendants’ material misrepresentations and/or omissions were done knowingly or recklessly and

for the purpose and effect of concealing ASP Isotopes’ financial well-being and prospects from the

investing public and supporting the artificially inflated price of its securities. As demonstrated by

Defendants’ overstatements and/or misstatements of the Company’s business, operations, financial

well-being, and prospects throughout the Class Period, Defendants, if they did not have actual

knowledge of the misrepresentations and/or omissions alleged, were reckless in failing to obtain

such knowledge by deliberately refraining from taking those steps necessary to discover whether

those statements were false or misleading.

       53.     As a result of the dissemination of the materially false and/or misleading

information and/or failure to disclose material facts, as set forth above, the market price of ASP

Isotopes’ securities was artificially inflated during the Class Period. In ignorance of the fact that

market prices of the Company’s securities were artificially inflated, and relying directly or

indirectly on the false and misleading statements made by Defendants, or upon the integrity of the

market in which the securities trades, and/or in the absence of material adverse information that

was known to or recklessly disregarded by Defendants, but not disclosed in public statements by

Defendants during the Class Period, Plaintiff and the other members of the Class acquired ASP

Isotopes’ securities during the Class Period at artificially high prices and were damaged thereby.

       54.     At the time of said misrepresentations and/or omissions, Plaintiff and other

members of the Class were ignorant of their falsity, and believed them to be true. Had Plaintiff

and the other members of the Class and the marketplace known the truth regarding the problems

that ASP Isotopes was experiencing, which were not disclosed by Defendants, Plaintiff and other

members of the Class would not have purchased or otherwise acquired their ASP Isotopes




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securities, or, if they had acquired such securities during the Class Period, they would not have

done so at the artificially inflated prices which they paid.

        55.     By virtue of the foregoing, Defendants violated Section 10(b) of the Exchange Act

and Rule 10b-5 promulgated thereunder.

        56.     As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and the

other members of the Class suffered damages in connection with their respective purchases and

sales of the Company’s securities during the Class Period.

                                         SECOND CLAIM

                         Violation of Section 20(a) of The Exchange Act

                                Against the Individual Defendants

        57.     Plaintiff repeats and re-alleges each and every allegation contained above as if fully

set forth herein.

        58.     Individual Defendants acted as controlling persons of ASP Isotopes within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their high-level

positions and their ownership and contractual rights, participation in, and/or awareness of the

Company’s operations and intimate knowledge of the false financial statements filed by the

Company with the SEC and disseminated to the investing public, Individual Defendants had the

power to influence and control and did influence and control, directly or indirectly, the decision-

making of the Company, including the content and dissemination of the various statements which

Plaintiff contends are false and misleading. Individual Defendants were provided with or had

unlimited access to copies of the Company’s reports, press releases, public filings, and other

statements alleged by Plaintiff to be misleading prior to and/or shortly after these statements were

issued and had the ability to prevent the issuance of the statements or cause the statements to be

corrected.


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        59.    In particular, Individual Defendants had direct and supervisory involvement in the

day-to-day operations of the Company and, therefore, had the power to control or influence the

particular transactions giving rise to the securities violations as alleged herein, and exercised the

same.

        60.    As set forth above, ASP Isotopes and Individual Defendants each violated Section

10(b) and Rule 10b-5 by their acts and omissions as alleged in this Complaint. By virtue of their

position as controlling persons, Individual Defendants are liable pursuant to Section 20(a) of the

Exchange Act. As a direct and proximate result of Defendants’ wrongful conduct, Plaintiff and

other members of the Class suffered damages in connection with their purchases of the Company’s

securities during the Class Period.

                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff prays for relief and judgment, as follows:

        (a)    Determining that this action is a proper class action under Rule 23 of the Federal

Rules of Civil Procedure;

        (b)    Awarding compensatory damages in favor of Plaintiff and the other Class members

against all defendants, jointly and severally, for all damages sustained as a result of Defendants’

wrongdoing, in an amount to be proven at trial, including interest thereon;

        (c)    Awarding Plaintiff and the Class their reasonable costs and expenses incurred in

this action, including counsel fees and expert fees; and

        (d)    Such other and further relief as the Court may deem just and proper.

                                  JURY TRIAL DEMANDED

        Plaintiff hereby demands a trial by jury.




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Dated: December 4, 2024              /s/ Gregory Linkh
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                                       SWORN CERTIFICATION OF PLAINTIFF


                                    ASP ISOTOPES INC. SECURITIES LITIGATION


                     I, Alexander Corredor, certify that:

                     1. I have reviewed the Complaint, adopt its allegations, and authorize the filing of a
                        Lead Plaintiff motion on my behalf.

                     2. I did not purchase the ASP Isotopes Inc. securities that are the subject of this action at
                        the direction of plaintiff’s counsel or in order to participate in any private action
                        arising under this title.

                     3. I am willing to serve as a representative party on behalf of a class and will testify at
                        deposition and trial, if necessary.

                     4. My transactions in ASP Isotopes Inc. securities during the Class Period set forth in
                        the Complaint are as follows:

                             (See attached transactions)

                     5. I have not sought to serve, nor served, as a representative party on behalf of a class
                        under this title during the last three years, except for the following:

                     6. I will not accept any payment for serving as a representative party, except to receive
                        my pro rata share of any recovery or as ordered or approved by the court, including
                        the award to a representative plaintiff of reasonable costs and expenses (including lost
                        wages) directly relating to the representation of the class.


                     I declare under penalty of perjury that the foregoing are true and correct statements.



                    11/27/2024
                 ________________                            _________________________________________
                       Date                                               Alexander Corredor
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     Alexander Corredor's Transactions in ASP Isotopes Inc. (ASPI)
     Date       Transaction Type        Quantity        Unit Price
    11/15/2024       Bought                     100            $6.9100
    11/15/2024       Bought                      50            $7.0000
    11/18/2024       Bought                      35            $7.8000
    11/25/2024       Bought                      26            $7.7300
    11/25/2024       Bought                      15            $7.3700
    11/26/2024       Bought                      30            $6.3600
